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                                        UNITED STATES DISTRICT COURT 
 
                                            MIDDLE DISTRICT OF ALABAMA 
 
                                                  OFFICE OF THE CLERK 
 
                                                  ONE CHURCH STREER 
 
                                              MONTGOMERY, ALABAMA 36104 
 
 
DEBRA P. HACKETT, CLERK 
                                                                                               TELEPHONE (334) 954‐3600 
          
                                                   April 7, 2017 


                                                                                          
          

                            CLERK’S NOTICE OF DISMISSAL
          
          
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         Re: C. Sanders Services, Inc. v. TI Group Automotive Systems, LLC
         Civil Action No. 3:17-cv-00161-CSC

         Dear Counsel:

                Pursuant to the Notice of Voluntary Dismissal filed by the Plaintiff on April 5, 2017, this
         case has been closed and removed from the pending docket of this court.

                                                                         Sincerely,
                                                                         DEBRA P. HACKETT, CLERK
